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Counsel for LandAmerica Financial Group, Inc.

                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

In re:                                               )       Chapter 11
                                                     )
LandAmerica Financial Group, Inc., et al.,           )       Case No. 08-35994-KRH
                                                     )
         Debtors.                                    )       (Jointly Administered)
                                                     )
                                                     )
LandAmerica Financial Group, Inc.,                   )
                                                     )
         Plaintiff,                                  )
                                                     )
v.                                                   )       Adv. Proc. No. 10-03801-KRH
                                                     )
Digital Map Products Inc.,                           )
                                                     )
         Defendant.                                  )

                           NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), made applicable hereto by

Federal Rule of Bankruptcy Procedure 7041, LandAmerica Financial Group, Inc. (“LFG”), by

its undersigned counsel, hereby gives notice of the dismissal without prejudice of the above-

captioned adversary proceeding against Metropolitan Life Insurance Company.

Dated: April 25, 2011                         LANDAMERICA FINANCIAL GROUP, INC.,
                                              PLAINTIFF


                                              /s/ Richard D. Scott
                                              Counsel
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Counsel for LandAmerica Financial Group, Inc., Plaintiff


                                     Certificate of Service

        I certify that on April 25, 2011, I sent a true copy of the foregoing Notice by U.S. Mail,
First Class, postage pre-paid, to the following:

                      Digital Map Products, Inc.
                      18831 Von Karman Avenue, Suite 200
                      Irvine, CA 92612


                                             /s/ Richard D. Scott




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